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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION




   OMAR SANTOS and AMANDA                          Case No 1:19-cv-23084-KMW
   CLEMENTS on behalf of themselves and
   all others similarly situated,

               Plaintiffs,

         vs.

   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC d/b/a ARS ACCOUNT
   RESOLUTION SERVICES and
   EXPERIAN INFORMATION
   SOLUTIONS, INC.,

             Defendants.
   __________________________________/



                     JOINT MOTION FOR AN ORDER
                EXTENDING TRIAL DATE AND ASSOCIATED
                        PRE-TRIAL DEADLINES
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          Plaintiffs Omar Santos and Amanda Clements (“Plaintiffs”), Defendant

   Healthcare Revenue Recovery Group, LLC (“HRRG”), and Experian Information

   Solutions, Inc. (“Experian”) (collectively, “the Parties”) by and through their

   undersigned counsel, jointly request an extension of the current August 16, 2021

   trial date, along with the associated pre-trial deadlines.1 This is the first request for

   an extension of the trial date.

          As described below, the Parties have a number of pending motions, including

   a motion for class certification, the resolution of which will have an impact on trial

   preparation. Accordingly, Plaintiffs and Experian jointly believe that a six-month

   extension of the current trial date and the associated pre-trial dates is in the best

   interests of the Court’s management of this case and trial preparation. HRRG

   believes a ninety day extension would be sufficient.

          On April 5, 2021, Plaintiffs filed their motion for class certification. [DE 86.]

   On May 17, 2021, the Court granted Experian’s request to file a corrected opposition

   and Plaintiffs’ request for additional time to file a reply. [DE 116; 120.] Briefing on

   the motion was completed on May 24, 2021. On May 13, 2021, the Court referred

   the class certification motion and several motions to seal to Magistrate Judge Torres.

   [DE 114.]



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    While HRRG would prefer not to delay the trial by six (6) months, HRRG is agreeable to a ninety
   (90) day extension of the trial date and pretrial deadlines.

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         Additionally, a motion for summary judgment filed by HRRG on September

   14, 2020 [DE 59], and Daubert motions filed by HRRG and Experian on April 5,

   2021, remain pending [DE 90; 91].

         The resolution of each of these pending motions will have an impact on trial

   preparations. Accordingly, Plaintiffs and Experian respectfully propose the

   following modified schedule which extends the trial date, and associated pre-trial

   date, by six months:

    December 17, 2021                          The Parties shall each file one motion
                                               in limine.

    January 7, 2022                            The Parties shall file a joint pre-trial
                                               stipulation, exhibit lists, and witness
                                               lists in accordance with Local Rule
                                               16.1(d) and (e). The Parties shall also
                                               file proposed jury instructions.

    January 14, 2022                           The Parties shall file their deposition
                                               designations

    February 14, 2022                          Calendar Call and Pre-Trial
                                               Conference

    February 21, 2022                          Trial




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   Dated: June 3, 2021        PODHURST ORSECK, P.A.


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   Dated: June 3, 2021        JONES DAY

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    Dated: June 3, 2021           SHEPARD, SMITH, KOHLMYER & HAND, P.A.

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                                  SERVICES



                            CERTIFICATE OF SERVICE
         I hereby certify that, on June 3, 2021, a true and correct copy of the foregoing

   document was filed via CM/ECF, which will transmit electronic notices of filing to

   counsel of record.

                                                   /s/Peter Prieto
                                                   Peter Prieto




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